Case 1:15-cv-00842-RGA Document 315 Filed 10/03/18 Page 1 of 4 PageID #: 11933




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

                                            )
                                            )    C.A. No. 15-842 (RGA)
IN RE CHANBOND, LLC,                        )    CONSOLIDATED
PATENT LITIGATION                           )
                                            )    REDACTED -- PUBLIC FILING
                                            )
                                            )

         DEFENDANTS’ LETTER BRIEF RELATED TO IN CAMERA REVIEW
                  OF CERTAIN CHANBOND DOCUMENTS

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Case 1:15-cv-00842-RGA Document 315 Filed 10/03/18 Page 2 of 4 PageID #: 11934




Dear Judge Andrews:

        Pursuant to the Court’s September 17, 2018 Oral Order (D.I. 312), Defendants provide
this letter concerning the 29 documents submitted for in camera review from plaintiff
ChanBond’s Seventh Amended Privilege Log.1 As explained below, each of the 29 documents
at issue falls into one or more categories, none of which are privileged.
         By way of background, following the August 9, 2018 discovery conference, the parties
engaged in several meet and confers, at which point counsel for ChanBond informed Defendants,
for the first time, that certain documents were being withheld not based on any ChanBond
privilege, but rather, based on the alleged privilege of third-party IP Navigation (“IP Nav”). See
D.I. 305. Counsel for ChanBond then served the August 23 log (Ex. 1), which contained for the
first time an identification of the purported privilege holder.
       I.      IP Navigation Cannot Claim Any Work Product Privilege
         Entries 481 – 483 are being withheld based on IP Nav’s supposed work product privilege,
even though tha
                            (see D.I. 291, Ex. 6). But, IP Nav’s principal, Ms. Deirdre Leane,
testified that
                     See Ex. 2, Leane Tr. 169:16 – 170:17. And IP Nav’s only agreement related
to the asserted patents – a                agreement – states that


                                  Ex. 3, CHANBOND_010611-12 (emphasis added). Thus, IP
Nav’s pre-acquisition analysi
                                                                    and there can be no claim of
“work product” for these pre-acquisition documents. See Acceleration Bay LLC v. Activision
Blizzard, Inc., C.A. No. 16-453, 2018 WL 798731, at *1 (D. Del. Feb. 9, 2018) (ordering
production of documents prepared primarily for business purposes, obtaining a loan to fund
litigation); Diagnostics Sys. Corp. v. Symantec Corp., C.A. No. 06-1211, 2008 WL 9396387, at
*6 (C.D. Cal. Aug. 12, 2008) (initial efforts to monetize patents before specific litigation plans
cannot be afforded work product protection). Indeed, no                       agreement between
IP Nav and the inventors was ever finalized or executed. See D.I. 294, Ex. 2
         Entries 545, 794 – 795, 804 – 805, 824, 894 – 895, 899, 901, and 903 are being withheld
as IP Nav’s supposed work product and attorney-client privilege. As discussed above, work
product cannot apply. Nor can there be any attorney-client privilege. As IP Nav’s own principal
testified (Ex. 2, Leane Tr. 173:3 – 175:9),
                                                             See In re Bristol-Myers Squibb Sec.
Litig., C.A. No. 00-1990, 2003 WL 25962198, at *5 (D.N.J. June 25, 2003) (“When a client’s
ultimate goal is not legal advice, but rather, business advice, the attorney-client privilege is
inapplicable.” (citing United States v. Rockwell, Int’l, 897 F.2d 1255, 1264 (3d Cir.1990));

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    These documents are the following entries on ChanBond’s Seventh Supplemental Privilege
Log: 2, 3, 51, 162, 163, 164, 165, 166, 167, 180, 266, 290, 481, 482, 483, 545, 588, 794, 795,
804, 805, 822, 824, 825, 894, 895, 899, 901, and 903. Although document 594 was initially
identified (see D.I. 302), Defendants are no longer challenging entry 594.
Case 1:15-cv-00842-RGA Document 315 Filed 10/03/18 Page 3 of 4 PageID #: 11935




Immersion Corp. v. HTC Corp., C.A. No. 12-259, 2014 WL 3948021, at *2 (D. Del. Aug. 7,
2014) (no attorney-client privilege for documents provided “primarily for business purposes”
relating to “licensing/royalty rates, [which was] the primary purpose of the Plaintiff’s business”).
       II.     There is No Privilege Because IP Navigation Did Not Provide Legal Advice
        Entry 180 is supposedly being withheld as ChanBond’s privileged material. But, that
document was authored by, and reflects the advice of,                                             .
Counsel for ChanBond has repeatedly made clear that IP Nav did not provide legal advice to
ChanBond, or anyone else. D.I. 279 (June 13, 2018) Tr. at 38:5 – 12 (“[THE COURT]: And tell
me if I’m being unfair in characterizing it here – what you’re saying is, IP Nav, which is not in
the business of providing legal services . . . . MR. RASKIN: Yes.”); see also id. at 34:5 – 15; Ex.
4, Carter Tr. at 41:9 – 12
                             It is unclear how a document authored by                     —which
did not provide legal services—can be protected under ChanBond’s privilege.
       III.    Entries with No Privilege Holder Identification Should be Produced
        For entries 2, 3, 51, 266, 290, and 822, ChanBond did not identify the party, i.e.
ChanBond or IP Nav, purporting to assert privilege/work product. See Ex. 1. ChanBond bears
the burden of demonstrating that each of the withheld documents is entitled to a claim of
privilege or work product. In re Joy Global, Inc., No. 01-039-LPS, 2008 WL 2435552, at *4–5
(D. Del. June 16, 2008). To satisfy that burden, ChanBond must provide sufficient information
to “assess the applicability” of privilege. Chao v. Koresko, No. 04-3614, 2005 WL 2521886, at
*4 (3d Cir. Oct. 12, 2005) (quoting Fed. R. Civ. P. 26(b)(5)). Without the basic information of
whose privilege is purportedly being asserted, there is no credible way to assess the privilege
claim. Moreover, ChanBond’s log is now on its seventh revision, and any shortcoming now
cannot be inadvertent. Indeed, based on the date and recipients, these documents appear to be
related to IP Nav’s business practice of assessing the viability of patents for monetization. See
Section I, supra. Thus, there is substantial doubt regarding any claim of privilege/work product
by IP Nav. See Acceleration Bay, 2018 WL 798731, at *1. Alternatively, these documents were
all exchanged between IP Nav personnel prior to the                  acquisition of the patents-in-
suit, and therefore cannot be withheld based on any purported ChanBond privilege. Having
failed to show a prima facie case of privilege, these documents should be produced.
       IV.     Work Product Protection Does Not Apply to Draft Patent Applications
         Entry 588 is a draft patent prosecution document supposedly prepared “in anticipation of
litigation” dated April 6, 2015. Counsel for ChanBond confirmed that the
                                                             . It is unclear how ChanBond can
claim work product protection over prosecution files for an unissued patent. See Application of
Minebea Co., Ltd., 143 F.R.D. 494, 499 (S.D.N.Y. 1992) (“Generally, work performed by an
attorney to prepare and prosecute a patent application does not fall within the parameters of the
work-product protection . . . since the prosecution of patent application is a non-adversarial, ex
parte proceeding.” (citing Hercules v. Exxon Corp., 434 F. Supp. 136, 152 (D. Del. 1977))). In
addition, it is unclear how ChanBond can claim this work product benefit for a document
prepared on                                before Chanbond acquired any rights to the portfolio
containing the asserted patents and its continuations on             .
       Defendants request that ChanBond be ordered to produce the 29 challenged documents.



                                                 2
Case 1:15-cv-00842-RGA Document 315 Filed 10/03/18 Page 4 of 4 PageID #: 11936




                                          Respectfully,

                                          /s/ Jennifer Ying

                                          Jennifer Ying (#5550)

cc:   Clerk of Court (by hand)
      All Counsel of Record (by e-mail)




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